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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JOANNE DEPALO, individually           )
and on behalf of all others similarly )
situated,                             )
                                      )        CIVIL ACTION NO. ___________
                  Plaintiff,          )
                                      )
v.                                    )        JURY TRIAL DEMANDED
                                      )
BUFFALO WILD WINGS, INC.              )
and BUFFALO WILD WINGS                )
INTERNATIONAL, INC.,                  )
                                      )
                  Defendants.         )

             PLAINTIFF’S ORIGINAL COLLECTIVE ACTION
                  AND CLASS ACTION COMPLAINT

   1.     The case implicates Defendant Buffalo Wild Wings, Inc.’s and Defendant

Buffalo Wild Wings International, Inc.’s (“Defendants” collectively) violations of

the Fair Labor Standards Act’s (“FLSA”) and the New York Labor Law’s (“NYLL”)

tip credit and the subsequent underpayment of their employees at the minimum wage

rate for all hours worked. Plaintiff brings this case as a collective action under the

FLSA, 29 U.S.C. 216(b) and a class action pursuant to Fed. R. Civ. P. 23 to remedy

violations of the NYLL.




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                            SUMMARY OF ACTION

   2.     Defendants pay their tipped employees, including servers and bartenders,

below the minimum wage rate by taking advantage of the tip-credit provisions of the

FLSA and, in New York, the NYLL. Under the tip-credit provisions, an employer

of tipped employees may, under certain circumstances, pay those employees less

than the minimum wage rate by taking a “tip credit” against the employer’s

minimum wage obligations from the tips received from customers.

   3.     However, there are strict requirements for an employer to utilize the “tip

credit.” See 29 U.S.C. 203(m). An employer must advise an employee in advance

of its use of the tip credit pursuant to the provisions of section 3(m) of the FLSA.

See id. (the tip credit provision “shall not apply with respect to any tipped employee

unless such employee has been informed by the employer of the provisions of this

subsection.”). That is, the employer must inform the employee: (1) the amount of

the cash wage that is to be paid to the tipped employee; (2) the amount by which the

wages of the tipped employee are increased on account of the tip credit; (3) that all

tips received by the employee must be retained by the employee except for tips

contributed to a valid tip pool; and (4) that the tip credit shall not apply to any

employee who does not receive the notice.




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   4.     Further, it is illegal for employers to require tipped employees to give up

a portion of their tips to their employer or to ineligible employees, such as

management staff. See Myers v. Copper Cellar Corp., 192 F.3d 546, 551 (6th Cir.

1999) (for “the work shifts in which salad mixers were included within the tip pool,

the pooling scheme was illegal...”); Portales v. MBA Inv. Co., LLC, No.

3:13CV00001, 2014 WL 5795206, at *3 (N.D. Ohio Oct. 16, 2014) (“When an

employer includes a non-customarily tipped employee or another employer in a

mandatory tip pool, the pool is invalid under FLSA.” (citing 29 U.S.C. § 203));

Bernal v. Vankar Enter., Inc., 579 F. Supp. 2d 804, 810 (W.D. Tex. 2008) (employer

not permitted to take the FLSA tip credit when it required waiters to pay for

shortages and unpaid tabs).

   5.     Additionally, an employer must pay the minimum statutory hourly rate

($2.13 per hour under the FLSA and $8.35 in New York). See 29 U.S.C. 203(m).

   6.     Moreover, an employer cannot pay below the minimum wage to tipped

employees and require those tipped employees to perform non-tipped work that is

unrelated to the tipped occupation. See Driver v. AppleIllinois, LLC, 739 F.3d 1073,

1075 (7th Cir. 2014) (explaining that when tipped employees perform “non-tipped

duties” that “are unrelated to their tipped duties…such as, in the case of restaurant

servers, washing dishes, preparing food, mopping the floor, or cleaning bathrooms,

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they are entitled to the full minimum wage for the time they spend at that work.”);

Romero v. Top-Tier Colorado LLC, 849 F.3d 1281, 1285 (10th Cir. 2017); Osman

v. Grube, Inc., No. 16-CV-802, 2017 WL 2908864, at *4 (N.D. Ohio July 7, 2017)

(employer may not take a tip credit for the time that a tipped employee spends on

work that is not related to the tipped occupation); Roussell v. Brinker Intern., Inc.,

No. 05 Civ. 3733, 2008 WL 2714079, at *12 (S.D. Tex. July 9, 2008) (“An employer

may take a tip credit for an employee that works ‘dual jobs,’ but only for the time

the employee spends working in his “tipped employee” capacity.”) (quoting 29

C.F.R. 531.56(e)).

   7.     Finally, an employer cannot require its tipped employees to perform non-

tipped work that is related to the employees’ tipped occupation but exceeds 20

percent of the employees’ time worked during a workweek. See Marsh v. J.

Alexander’s, LLC, 905 F.3d 610, 626-28 (9th Cir. 2018) (adopting 20% standard for

dual jobs regulation and finding the DOL’s opinion on dual jobs for tipped workers

to be entitled to deference); Fast v. Applebee’s Intern., Inc., 638 F.3d 872, 881 (8th

Cir. 2011) (granting the DOL’s 20% standard deference); Driver v. AppleIllinois,

LLC, No. 06 Civ. 6149, 2012 WL 3716482, at *2 (N.D. Ill. Aug. 27, 2012) (“An

employer may take a tip credit only for hours worked by [an] employee in an

occupation in which [he] qualifies as a tipped employee.”); Driver v. AppleIllinois,

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LLC, 739 F.3d 1073, 1075 (7th Cir. 2014) (the court indirectly cast its imprimatur

on the DOL’s aforementioned dual-jobs regulation and Field Operations Handbook,

citing both the “related to” standard in 29 C.F.R. § 531.56(e) and the 20% standard

in § 30d00(e)); Flood v. Carlson Restaurants, Inc., No. 13 Civ. 6458 (AT), 2015

WL 1396257 (S.D.N.Y. Mar. 27, 2015) (denying Defendants’ motion to dismiss

explaining that the 20% standard is a reasonable interpretation of the FLSA and

ultimately granting 216(b) notice); Ide v. Neighborhood Restaurant Partners, LLC,

No. 13 Civ. 509 (MHC), 2015 WL 11899143, at *6 (N.D. Ga., 2015) (“. . . a

reasonable interpretation of § 531.56(e) is that [plaintiff] would be entitled to

minimum wage if she spends more than twenty percent of her time performing

related but non-tipped duties.”); Crate v. Q’s Restaurant Group LLC, 2014 WL

10556347, at *4 (M.D. Fla., 2014) (“[T]he Court concludes that the 20% rule

clarifies the ambiguity contained in 29 C.F.R. § 531.56(e) by delineating how much

time a tipped employee can engage in related, non-tip-producing activity before such

time must be compensated directly by the employer at the full minimum wage

rate.”).

   8.        Defendants violated the FLSA and NYLL in the following respects:

             a. Violation for failure to inform: Defendants failed to correctly
                inform Plaintiff of the desire to rely on the tip credit to meet their
                minimum wage obligations. In fact, Defendants failed to inform
                Plaintiff of the following: (1) the amount of the cash wage that is to
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              be paid to the tipped employee; (2) the amount by which the wages
              of the tipped employee are increased on account of the tip credit; (3)
              that all tips received by the employee must be retained by the
              employee except for tips contributed to a valid tip pool; and (4) that
              the tip credit shall not apply to any employee who does not receive
              the notice.

           b. Violation for making illegal deductions that reduced the direct
              wage of Plaintiff below the minimum required hourly wage for
              tipped employees: Plaintiff was required to purchase certain clothing
              to work for Defendants, which reduced her wages below the minimum
              hourly wage required for tipped employees.

           c. Violation for performing work unrelated to tipped occupation:
              Plaintiff was required to perform improper types, and excessive
              amounts, of non-tipped work, including, but not limited to
              vacuuming, taking out trash, doing dishes, cleaning bathrooms,
              sweeping floors, mopping floors, cleaning walls, setting up the blue
              cheese and celery cart, stocking paper products, and cleaning metal
              trays.

           d. Violation for performing non-tipped side work in excess of 20%
              of the time spent working in the week: Plaintiff was required to
              perform greater than 20% of his time in performing non-tip producing
              side work, including, but not limited to setting up tables, rolling
              silverware, cleaning tables, wiping booths, refilling condiments,
              amongst other duties.

   9.     As a result of these violations, Defendants have lost the ability to use the

tip credit and therefore must compensate Plaintiff and all similarly situated workers

at the full minimum wage rate, unencumbered by the tip credit, and for all hours

worked. In other words, Defendants must account for the difference between the




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wages paid to Plaintiff and all similarly situated workers and the minimum wage

rate.

              SUBJECT MATTER JURISDICTION AND VENUE

   10.      This court has federal question jurisdiction pursuant to 28 U.S.C. § 1331

as this case is brought under the laws of the United States, specifically the FLSA, 29

U.S.C. § 216(b), et. seq. The Court has supplemental jurisdiction over the state law

claims pursuant to 28 U.S.C. § 1367.

   11.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because

a substantial part of the events and omissions giving rise to this claim occurred in

this district. In particular, Defendants maintain their headquarters and principal place

of business in this District. The decision to pay Plaintiff in the illegal manner

described in this Complaint was made in this District.

                  PARTIES AND PERSONAL JURISDICTION

   12.      Plaintiff Joanne DePalo is an individual who worked for Defendants in

New York. Her written consent to this action is attached hereto as Exhibit “A.”

   13.      The FLSA Class Members are all current and former tipped employees

who worked for Defendants for at least one week during the three-year period prior

to the filing of this action to the present.




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   14.      The New York Class Members are all current and former tipped

employees who worked for Defendants in New York for at least one week during the

six-year period prior to the filing of this action to the present.

   15.      The FLSA Class Members and the New York Class Members shall be

collectively referred to as the “Class Members.”

   16.      Defendant Buffalo Wild Wings, Inc. is a foreign corporation doing

business in Georgia. Said Defendant may be served with process by serving its

registered agent: Corporation Service Company, 2 Sun Court, Suite 400, Peachtree

Corners, GA 30092.

   17.      Defendant Buffalo Wild Wings International, Inc. is a foreign

corporation doing business in Georgia. Said Defendant may be served with process

by serving its registered agent: Corporation Service Company, 2 Sun Court, Suite

400, Peachtree Corners, GA 30092.

   18.      Personal jurisdiction exists over Defendants because they have sufficient

minimum contacts with the State of Georgia to confer personal jurisdiction.

Defendants conduct business throughout Georgia. Furthermore, Defendants

contracted with and employ Georgia residents, have Georgia customers, market to

residents of Georgia, and own property in Georgia. Moreover, Defendants maintain

their headquarters in Georgia.

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                                  COVERAGE

   19.     At all material times, Defendants have been an employer within the

meaning of the FLSA. 29 U.S.C. § 203(d).

   20.     At all material times, Defendants have been an enterprise in commerce

or in the production of goods for commerce within the meaning of the FLSA. 29

U.S.C. § 203(s)(1).

   21.     At all material times, Defendants have enjoyed yearly gross revenue in

excess of $500,000.

   22.     At all material times, Plaintiff was an employee engaged in the commerce

or the production of goods for commerce.

   23.     At all material times, Defendants have operated as a “single enterprise”

within the meaning of 29 U.S.C. § 203(r)(1). That is, Defendants perform related

activities through unified operation and common control for a common business

purpose.

   24.     Defendants operate a nationwide chain of restaurants with the name

“Buffalo Wild Wings” under the control of the same senior-level management.

Indeed, the restaurants advertise themselves as a unified entity through the same

website.




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   25.      Defendants represent themselves to the public as one restaurant operating

at multiple locations. They share employees, have a common management, pool

their resources, operate from the same headquarters, have common ownership, and

have the same operating name.

   26.      Defendants operate under a unified business model and part of that

unified business model is the wage violations alleged in this Complaint.

   27.      Thus, Defendants formed a “single enterprise” and are liable for the

violations of the other.

   28.      At all material times, Plaintiff has been an employee of Defendants

within the meaning of the NYLL §§ 650 et seq., and the supporting New York State

Department of Labor Regulations.

                                      FACTS

   29.      Defendants operate a nationwide chain of restaurants under the trade

name “Buffalo Wild Wings” throughout the U.S. Defendants operate in Arizona,

Alabama, Florida, Missouri, Georgia, New Mexico, Oklahoma, Ohio, Tennessee,

Texas and other states.

   30.      The Buffalo Wild Wings restaurants are full-service restaurants that

employ waiters to provide services to customers.




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   31.        A waiter gathers orders from customers and delivers food and drinks to

the customers. A waiter is paid an hourly wage by Defendants and receives tips from

customers. A bartender prepares and serves drinks to customers. A bartender is paid

an hourly wage by Defendants and receives tips from customers.

   32.        However, Defendants paid these tipped workers less than the minimum

wage.

   33.        Defendants attempted to utilize the tip credit to meet their minimum

wage obligation to their tipped workers, including the Plaintiff and Class Members.

   34.        Plaintiff worked for Defendants at the Buffalo Wild Wings in Centereach,

New York. She worked as a waitress and was paid less than the minimum wage.

Plaintiff worked for Defendants from approximately May 2013 to December 2019.

   35.        The tip credit has a harmful effect on workers that threatens the health of

the economy. Adasina Social Capital, a company representing investors with more

than $538 billion in assets, has issued a letter to large corporations operating

restaurants     advising     of   the    ills        of   using   the   tip   credit.   (See

https://adasina.com/investor-statement-in-support-of-ending-the-subminimum-

wage/, last visited November 5, 2021). The letter states as follows:

         Tipped workers are the largest group paid a subminimum wage
         and represent approximately six million people in the United
         States. The restaurant industry by far employs the largest number
         of tipped workers, representing 13.6 million people.
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         Frozen at $2.13 per hour, a tipped subminimum wage worker
         can be paid as little as $4,430 per year for full-time work. As
         a result, in the 42 states that allow payment of a subminimum
         wage, tipped workers are more than twice as likely to live in
         poverty, and the rates are even higher for women and people of
         color. The subminimum wage for tipped workers has risen little
         since it was enacted following the emancipation of slavery, a time
         when employer trade associations pushed to recoup the costs of
         free, exploited labor.

(Id.) (emphasis in original)

   36.       Given the harmful effects of the tip credit, there are strict requirements

that must be met by an employer who seeks to utilize the tip credit to meet its

minimum wage obligations.

   37.       In this case, Defendants did not satisfy the strict requirements to use the

tip credit. Defendants maintained a policy and practice whereby they failed to

provide the Plaintiff and the Class Members with the statutorily required notice

regarding (1) the amount of the cash wage that is to be paid to the tipped employee,

(2) the amount by which the wages of the tipped employee are increased on account

of the tip credit, (3) that all tips received by the employee must be retained by the

employee except for tips contributed to a valid tip pool, and (4) that the tip credit

shall not apply to any employee who does not receive the notice.

   38.       Defendants also maintained a policy and practice whereby tipped

employees were required to perform non-tip producing side work unrelated to the
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employees’ tipped occupation. As a result, Plaintiff and the Class Members were

engaged in dual occupations while being compensated at the tip credit rate. While

performing these non-tip generating duties, they did not interact with customers and

could not earn tips.

   39.       These duties include but are not limited to the following: vacuuming,

taking out trash, doing dishes, cleaning bathrooms, sweeping floors, mopping floors,

cleaning walls, setting up the blue cheese and celery cart, stocking paper products,

and cleaning metal trays, amongst other activities that were not related to tipped

duties.

   40.       Defendants also maintained a policy and practice whereby tipped

employees were required to spend a substantial amount of time, in excess of 20

percent, performing non-tip producing side work related to the employees’ tipped

occupation.

   41.       Specifically, Defendants maintained a policy and practice whereby

tipped employees were required to spend a substantial amount of time performing

non-tip producing side work, including, but not limited to setting up tables, rolling

silverware, cleaning tables, wiping booths and refilling condiments.

   42.       Further, Defendants required Plaintiff and the Class Members to perform

non-tip producing work prior to the opening of the restaurant and after the restaurant

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closed. Indeed, Defendants required Plaintiff and the Class Members to arrive prior

to the restaurant’s opening for business, when there were no customers and no

opportunities to earn tips, to perform manual labor cleaning and setup duties.

Likewise, Defendants required Plaintiff and the Class Members to remain at the

restaurants after they had closed for business and when there was no opportunity to

earn tips, to perform manual labor cleaning duties. At times, they spent 31 minutes

to two hours performing work before the restaurant was open and the same amount

of time after the restaurant was closed performing non-tip producing work.

   43.      However, Defendants did not pay their tipped employees the full

minimum wage rate for this work. The duties that Defendants required Plaintiff and

the Class Members to perform were duties that are customarily assigned to “back-

of-the-house” employees in other establishments, who typically receive at least the

full minimum wage rate.

   44.      During Plaintiff’s and the Class Members’ employment, checklists were

posted in Defendants’ restaurants with numerous non-tipped duties that tipped

employees were required to perform, in addition to serving customers.

   45.      When the tipped employees performed these non-tipped duties, they

usually did not interact with customers and did not have an opportunity to earn tips.




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   46.       Indeed, Defendants did not have a policy prohibiting tipped employees

from performing certain types, or excessive amounts, of non-tipped work.

   47.       Defendants did not track or record the amount of time the tipped

employees spent performing non-tipped work, even though Defendants were capable

of doing so. Defendants’ timekeeping system was capable of tracking multiple job

codes for different work assignments, but Defendants failed to track to the specific

tasks for Plaintiff or the Class Members.

   48.       Defendants use a point-of-sale system to record hours worked by their

tipped employees. Defendants then analyze the information collected by this

system, including the labor costs at each of the restaurants. Defendants’ timekeeping

system was capable of tracking multiple job codes for different work assignments,

but Defendants failed to track the specific tasks for Plaintiff and the Class Members.

   49.       In the point-of-sale system, Defendants can create different “clock in”

codes that would allow tipped employees to record their time at the full minimum

wage when performing non-tipped work.

   50.       However, Defendants did not allow their tipped employees to clock-in at

the full minimum wage rate when performing the non-tipped work described in this

Complaint.




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   51.      Defendants’ managers at the restaurants were eligible to receive bonuses,

in part, based on meeting or exceeding certain labor cost targets, which created an

incentive to keep the amount paid to tipped employees low.

   52.      Moreover, Defendants violated the FLSA and NYLL by not even paying

the minimum “tipped” hourly rate. Defendants required their tipped employees to

pay for items for their uniform, including pants, belts, and shoes. These clothing

items were required to perform work for Defendants and were primarily for the

benefit and convenience of Defendants. The costs for these items were not

reimbursed by Defendants.

   53.      Because Defendants paid their tipped employees at the minimum of

$2.13 per hour (or the state’s respective tipped wage), any week in which a tipped

employee was required to pay for work-related expenses for Defendants’ business,

their compensation fell below the minimum wage rate, thereby negating Defendants’

entitlement to claim the tip credit.

   54.      In other words, by requiring Plaintiff and the Class Members to pay for

these work-related expenses, their hourly rates of pay were reduced by the amount

of these uniform costs. As a result, they were not even paid the minimum hourly

rate necessary for Defendants to claim the tip credit.




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   55.      Furthermore, Defendants failed to properly notify Plaintiff and the New

York Class Members in writing of the tip credit provisions of the NYLL, or their

intent to apply a tip credit to their wages.

   56.      Because Defendants violated the requirements to claim the tip credit,

Defendants lost the right to take a credit toward their minimum wage obligation to

Plaintiff and the Class Members.

   57.      As such, Plaintiff and the Class Members were not compensated at the

required minimum wage rate.

   58.      In addition, Defendants failed to furnish Plaintiff and the New York Class

Members with proper annual wage notices, as required by the NYLL.

   59.      Moreover, Defendants failed to furnish Plaintiff and the New York Class

Members with accurate statements of wages with each payment of wages as required

by the NYLL.

   60.      Defendants knew or should have known that their policies and practices

violate the law, and Defendants have not made a good faith effort to comply with the

FLSA or NYLL. Rather, Defendants acted knowingly, willfully, and/or with reckless

disregard of the law carried and continue to carry out the illegal pattern and practice

regarding their tipped employees as described in this Complaint. Defendants’




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method of paying Plaintiff and the Class Members was not based on a good faith and

reasonable belief that their conduct complied with the law.

                REVISED FIELD OPERATIONS HANDBOOK
                  AND NEW DUAL JOBS REGULATION

   61.       On November 8, 2018, the Department of Labor issued opinion letter

FLSA2018-27 which provided a standard for interpreting the dual jobs regulation

that was different than the “80/20” rule that had existed at the time. However, nearly

every court to have considered this opinion letter held that the opinion letter was not

entitled to any deference. See, e.g., Callaway v. DenOne, LLC, No. Civ. A. 1:18-cv-

1981, 2019 WL 1090346 (N.D. Ohio Mar. 8, 2019); Cope v. Let’s Eat Out, Inc., 354

F. Supp. 3d 976 (W.D. Mo. 2019). Spencer v. Macado’s, Inc., 399 F. Supp. 3d 545,

552-53 (W.D. Va. 2019); Flores v. HMS Host Corp., No. 8:18-cv-03312-PX, 2019

U.S. Dist. LEXIS 183906 (D. Md. Oct. 23, 2019).

   62.       Therefore, the Department of Labor announced its intention to revise the

dual jobs regulation found in 29 C.F.R. § 531.56(e) and issued a notice of proposed

rule-making            on          October              8,        2019.           (See

https://www.federalregister.gov/documents/2019/10/08/2019-20868/tip-

regulations-under-the-fair-labor-standards-act-flsa).

   63.       After soliciting comments, the Department of Labor published its final

rule on December 30, 2020, which had an effective date of March 1, 2021.
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(https://www.federalregister.gov/documents/2020/12/30/2020-28555/tip-

regulations-under-the-fair-labor-standards-act-flsa). After delaying the effective

date of the Final Rule (https://www.dol.gov/agencies/whd/flsa/tips), on June 21,

2021, the Department of Labor announced “a notice of proposed rulemaking to limit

the amount of non-tip producing work that a tipped employee can perform when an

employer             is           taking            a           tip           credit.”

(https://www.federalregister.gov/documents/2021/06/23/2021-13262/tip-

regulations-under-the-fair-labor-standards-act-flsa-partial-withdrawal).

   64.       After soliciting more comments, the Department of Labor announced on

October 28, 2021, the publication of a final rule (Tips Dual Jobs final rule).

(https://www.dol.gov/agencies/whd/flsa/tips).

   65.       Under the Final Rule, an employer cannot take a tip credit for any of the

time spent by a tipped worker performing any non-tipped work that exceeds 30

minutes. That is, when a tipped worker performs non-tipped work for a continuous

period of time exceeding 30 minutes, the employer cannot claim the tip credit.

   66.       Here, Defendants illegally required Plaintiff and the Class Members to

perform non-tip producing work for an excessive period of time. That is because

Defendants required Plaintiff and the Class Members to perform non-tipped work

31 minutes to two hours before the restaurants were open for business, throughout

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their shifts, or after they were closed, when the restaurants did not have customers

and there was no opportunity to earn tips. During this time, Defendants paid below

the minimum wage rate and forced the Plaintiff and Class Members to perform non-

tip producing duties, as noted above.

   67.       Given that Defendants failed to comply with the requirements to take

the tip credit, Defendants have lost the ability to claim the tip credit and owe Plaintiff

and the Class Members pay at the full minimum wage rate per hour for all hours they

worked for Defendants.

                      COLLECTIVE ACTION ALLEGATIONS

   68.      Plaintiff brings this action as an FLSA collective action pursuant to 29

U.S.C. § 216(b) on behalf of all persons who were or are employed by Defendants

as a tipped worker for at least one week during the three-year period prior to the

commencement of this action to the present.

   69.      Plaintiff has actual knowledge, through conversations with her co-

workers, that a collective of similarly situated workers exists who have been

subjected to the same policies of Defendants with respect to the payment of the

minimum wage.

   70.      The FLSA Class Members are similarly situated to Plaintiff in that they

share the same duties and were subject to the same violations of the FLSA.

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   71.        Like Plaintiff, the FLSA Class Members were not given proper notice of

the tip credit provisions and performed substantial work that was unrelated to their

tip producing duties for a significant period of time.

   72.        Moreover, the FLSA Class Members were also subject to deductions and

expenses that dropped their compensation below the minimum wage.

   73.        Plaintiff and the FLSA Class Members all labored under the same

corporate structure, the same corporate policies, the same corporate chain of

command, and pursuant to the rules in the same company handbook.

   74.        The names and addresses of the FLSA Class Members are available from

Defendants’ records. To the extent required by law, notice will be provided to these

individuals by first class mail, email, text message, or by the use of techniques and

a form of notice similar to those customarily used in representative actions.

   75.        Although the exact amount of damages may vary among the FLSA Class

Members in proportion to the number of hours they worked, damages for each

individual can be easily calculated using a simple formula.

   76.        As such, the class of similarly situated Class Members is properly defined

as follows:

         All current and former tipped employees who worked for
         Defendants for at least one week during the three-year period prior
         to the filing of this action to the present.

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                        NEW YORK CLASS ALLEGATIONS

   77.       Plaintiff brings this action as a class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure on behalf of the New York Class Members which

is comprised of the following:

         All current and former tipped employees who worked for
         Defendants for at least one week in New York during the six-year
         period prior to the filing of this action to the present.

   78.       Numerosity. The number of members in the New York Class is believed

to exceed forty. This volume makes bringing the claims of each individual member

of the New York Class before this Court impracticable. Likewise, joining each

individual member of the New York Class as a plaintiff in this action is

impracticable. Furthermore, the identity of the members of the New York Class will

be determined from Defendants’ records, as will the compensation paid to each of

them. As such, a class action is a reasonable and practical means of resolving these

claims. To require individual actions would prejudice the New York Class and

Defendants.

   79.       Typicality. Plaintiff’s claims are typical of the New York Class because

like the members of the New York Class, Plaintiff was subject to Defendants’

uniform policies and practices and was compensated in the same manner as others

in the New York Class. Plaintiff and the New York Class have been uncompensated

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and/or under-compensated as a result of Defendants’ common policies and practices

which failed to comply with New York law. As such, Plaintiff’s claims are typical

of the claims of the New York Class. Plaintiff and all members of the New York

Class sustained damages arising out of and caused by Defendants’ common course

of conduct in violation of law as alleged herein.

   80.        Adequacy.   Plaintiff is a representative party who will fairly and

adequately protect the interests of the New York Class because it is in her interest to

effectively prosecute the claims herein alleged in order to obtain the unpaid wages

and penalties required under New York law. Plaintiff has retained attorneys who are

competent in both class actions and wage and hour litigation. Plaintiff does not have

any interest which may be contrary to or in conflict with the claims of the New York

Class she seeks to represent.

   81.        Commonality. Common issues of fact and law predominate over any

individual questions in this matter. The common issues of fact include, but are not

limited to:

              a. Whether Defendants properly informed Plaintiff and the New York

                Class Members of the intent to claim the tip credit;

              b. Whether more than 20% of the work performed by Plaintiff and the

                New York Class Members was non-tip generating work;

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         c. Whether Plaintiff and the New York Class Members performed work

            for significant periods of time before the restaurant was open for

            business or after it had closed for business; and

         d. Whether Plaintiff and the New York Class Members were subject to

            unlawful deductions.

82.      The common issues of law include, but are not limited to:

         a. Whether Defendants can claim the “tip credit”;

         b. Whether Defendants violated the NYLL;

         c. Whether Plaintiff and the New York Class are entitled to

            compensatory damages;

         d. Whether Plaintiff and the New York Class incurred work related

            expenses in violation of New York law;

         e. Whether Defendants failed to furnish Plaintiff and the New York

            Class with a proper time of hire wage notice, as required by the

            NYLL;

         f. Whether Defendants failed to furnish Plaintiff and the New York

            Class with accurate pay statements with every payment of wages, as

            required by the NYLL;




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            g. The proper measure of damages sustained by Plaintiff and the New

               York Class Members; and

            h. Whether Defendants’ actions were “willful.”

   83.      Superiority. A class action is superior to other available means for the

fair and efficient adjudication of this lawsuit. Even in the event any member of the

New York Class could afford to pursue individual litigation against a company the

size of Defendants, doing so would unduly burden the court system. Individual

litigation would magnify the delay and expense to all parties and flood the court

system with duplicative lawsuits. Prosecution of separate actions by individual

members of the New York Class would create the risk of inconsistent or varying

judicial results and establish incompatible standards of conduct for Defendants.

   84.      A class action, by contrast, presents far fewer management difficulties

and affords the benefits of uniform adjudication of the claims, financial economy for

the parties, and comprehensive supervision by a single court. By concentrating this

litigation in one forum, judicial economy and parity among the claims of individual

New York Class Members are promoted. Additionally, class treatment in this matter

will provide for judicial consistency. Notice of the pendency and any resolution of

this action can be provided to the New York Class by mail, electronic mail, text




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message, print, broadcast, internet and/or multimedia publication. The identity of

members of the New York Class is readily identifiable from Defendants’ records.

   85.      This type of case is well-suited for class action treatment because: (1)

Defendants’ practices, policies, and/or procedures were uniform; and (2) the burden

is on Defendants to prove it properly compensated its employees including any

potential exemptions that might apply. Ultimately, a class action is a superior form

to resolve the New York claims detailed herein because of the common nucleus of

operative facts centered on the continued failure of Defendants to pay Plaintiff and

the New York Class Members per applicable New York laws.

                               CAUSE OF ACTION

                                      COUNT I

                  VIOLATION OF THE FAIR LABOR STANDARDS ACT

                       FAILURE TO PAY THE MINIMUM WAGE

   86.      Plaintiff incorporates the preceding paragraphs by reference.

   87.      This count arises from Defendants’ violation of the FLSA in connection

with their failure to pay the minimum wage. See 29 U.S.C. § 206.

   88.      Plaintiff and the FLSA Class Members were paid hourly rates less than

the minimum wage while working for Defendants.




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   89.      Plaintiff and the FLSA Class Members were not exempt from the

minimum wage requirements of the FLSA.

   90.      Defendants’ failure to comply with the minimum wage requirements of

the FLSA, and, in particular, the tip credit requirements, resulted in Plaintiff and the

FLSA Class Members being paid less than the Federal minimum wage rate.

   91.      Defendants’ failure to pay the minimum wage to Plaintiff and the FLSA

Class Members, in violation of the FLSA was willful and not based on a good faith

belief that their conduct did not violate the FLSA. 29 U.S.C. § 255(a).

                                       COUNT II

                     VIOLATION OF THE NEW YORK LABOR LAW

                        FAILURE TO PAY THE MINIMUM WAGE

   92.      Plaintiff incorporates the preceding paragraphs by reference.

   93.      At all relevant times, Plaintiff and the New York Class Members have

been employees of Defendants, and Defendants have been employers of Plaintiff and

the New York Class within the meaning of the NYLL §§ 650 et seq., and the

supporting New York State Department of Labor Regulations.

   94.      Defendants have failed to pay Plaintiffs and the New York Class

Members the minimum hourly wages to which they are entitled under the NYLL and

the supporting New York State Department of Labor Regulations.

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   95.       Pursuant to the NYLL, Article 19, §§ 650 et seq., and the supporting New

York State Department of Labor Regulations, Defendants have been required to pay

Plaintiff and the New York Class Members the full minimum wage rate that began

at $8.00 per hour in 2014 to $15.00 per hour at the present.

   96.       Defendants failed to notify Plaintiff and the New York Class Members of

the tip credit in writing as required by the NYLL and the supporting New York State

Department of Labor Regulations.

   97.       Defendants required Plaintiff and the New York Class Members to spend

a substantial amount of time performing non-tip producing work, as described in this

Complaint.

   98.       As a result, Plaintiff and the New York Class have been entitled to the

full minimum wage rate rather than the reduced tipped rate.

                                      COUNT III

                      VIOLATION OF THE NEW YORK LABOR LAW

                        UNLAWFUL DEDUCTION FROM WAGES

    99.      Plaintiff incorporates the preceding paragraphs by reference.

   100.      Defendants made unlawful deductions from the wages of the Plaintiff and

New York Class Members. These deductions included, but were not limited to, the




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costs of purchasing pants, non-slick shoes, belts, pens, and other items to perform

their work for Defendants.

   101.    These deductions and expenses from the wages of the Plaintiff and New

York Class Members were not expressly authorized in writing by the Plaintiff and

New York Class Members and were not primarily for the benefit of the Plaintiff and

New York Class Members.

   102.    Due to Defendants’ violations of the NYYL, the Plaintiff and Class

Members are entitled to recover from Defendants the amounts of unlawful

deductions and expenses, and liquidated damages as provided for by the NYYL,

along with attorney’s fees, costs, pre-judgment interest, and post-judgment interest.

                                     COUNT IV

                    VIOLATION OF THE NEW YORK LABOR LAW

              FAILURE TO PROVIDE PROPER ANNUAL WAGE NOTICES

   103.    Plaintiff incorporates the preceding paragraphs by reference.

   104.    Defendants have failed to supply Plaintiff and the New York Class

Members with a proper time of hire annual wage notice, as required by NYYL,

Article 6, § 1951(1), in English or in the language identified as their primary

language, at the time of hiring, containing, among other items: the rate or rates of

pay and basis thereof; allowances, if any, claimed as part of the minimum wage; the

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regular pay day designated by the employer in accordance with section 191 of Article

6; overtime rate; the name of the employer; any “doing business as” names used by

the employer; the physical address of the employer’s main office or principal place

of business, and a mailing address if different; the telephone number of the

employer; plus such other information as the commissioner deems material and

necessary.

   105.      Due to Defendants’ violations of NYYL, Article 6, § 195(1), Plaintiffs

and the New York Class Members are entitled to statutory penalties of fifty dollars

for each workday that Defendants failed to provide them with wage notices, or a

total of five thousand dollars each, as well as reasonable attorneys’ fees and costs

pursuant to NYLLL, Article 6, § 198 (1-b).

                                       COUNT V

                      VIOLATION OF THE NEW YORK LABOR LAW

                 FAILURE TO PROVIDE ACCURATE WAGE STATEMENTS

   106.      Plaintiff incorporates the preceding paragraphs by reference.

   107.      Defendants failed to supply Plaintiff and the New York Class Members

with an accurate statement of wages with every payment of wages as required by

NYLL, Article 6, § 195(3), listing: dates of work covered by that payment of wages;

name of employer; address and phone number of employer; rate or rates of pay and

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basis of pay; gross wages; deductions; allowances if any, claimed as part of the

minimum wage; hourly rate or rates of pay and overtime rates of pay, if applicable;

the number of hours worked, including overtime hours worked if applicable; and net

wages.

   108.     Due to Defendants’ violations of NYLL, Article 6, § 195(3), Plaintiff and

the New York Class Members are entitled to statutory penalties of two hundred fifty

dollars for each workweek that Defendants failed to provide them with accurate

wage statements, or a total of five thousand dollars, and reasonable attorneys’ fees

and costs as provided by NYLL, Article 6, § 198 (1-d).

                                 JURY DEMAND

   109.      Pursuant to her rights under the Constitution of the United States, U.S.

CONST. amend VII, and FED R. CIV. P. 38(a), Plaintiff hereby demands trial by jury.

                             PRAYER FOR RELIEF

    110. For these reasons, Plaintiff respectfully requests that judgment be entered

in her favor awarding her and the Class Members:

   a. Minimum wage compensation unadulterated by the tip credit;

   b. Liquidated damages;

   c. Reimbursement for all expenses and wages wrongfully withheld;

   d. Statutory penalties as described in this Complaint;

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e. An order conditionally certifying this matter as a collective action;

f. An order certifying this case as a class action under Rule 23;

g. An order requiring Defendants to correct their pay practices going forward;

h. Reasonable attorney’s fees, costs, and expenses of this action;

i. Pre-judgment interest (to the extent liquated damages are not awarded) and

   post judgment interest; and

j. Such other and further relief to which Plaintiff and the Class Members may

   be entitled, both in law and in equity.

   Respectfully submitted: November 18, 2021.

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